        Case: 3:08-cr-00105-bbc Document #: 170 Filed: 02/11/09 Page 1 of 15



                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN
_________________________________________________________________________________________

UNITED STATES OF AMERICA,
                                                                                     REPORT AND
                          Plaintiff                                               RECOMMENDATION
        v.
                                                                                     08-cr-105-bbc-02
GERARDO PINEDA SORIA,

                    Defendant.
_________________________________________________________________________________________


                                                   REPORT

        Defendant Gerardo Pineda Soria has moved to suppress physical evidence seized from his

apartment and statements he made following his arrest on June 19, 2008 when a drug task force

entered his residence, ostensibly pursuant to a search warrant. See dkt. 85.1 For reasons stated

below, I am recommending that the court completely deny the motion to suppress.

        On December 5, 2008, this court held an evidentiary hearing on the motion to suppress.

Having heard and seen the witnesses testify, having considered the affidavits and other exhibits,

and having made credibility determinations, I find the following facts:



                                                     Facts

        On Wednesday, June 18, 2008, DEA Special Agent Yvonne Jarosz sought and obtained

from this court a search warrant for 253 South High Street, Apt. A, in Janesville, Wisconsin. In

her supporting affidavit, Agent Jarosz reported that the building housing this apartment was a

Victorian home subdivided into apartments, two at the 253 South High Street address, and two

more with an address of 321 W est Holmes Street. The entry door to the 253 South High Street




        1
          Pineda also seeks a bill of particulars setting forth four sets of facts. See Dkt. 83. I will be issuing
a separate order on this motion.
       Case: 3:08-cr-00105-bbc Document #: 170 Filed: 02/11/09 Page 2 of 15




address opened into a two-story foyer that contained the door into Apartment A on the first floor

and an open, steep staircase leading to a second-story landing and the door into Apartment B.

Neither apartment actually was marked with a letter. The agents developed persuasive evidence

that Gerardo Pineda Soria was trafficking cocaine from his residence at 253 South High Street.

Residents of the downstairs apartment told agents (during a ruse interview) that the upstairs

apartment was empty. From this, the agents assumed that Pineda must live in the downstairs

apartment with the other tenants. Based on this assumption, the agents limited their warrant

application to Apartment A.

       At the time the court issued the search warrant for Apartment A it also signed a criminal

complaint and issued an arrest warrant for Gerardo Pineda Soria on drug charges.

       At 6:01 a.m. the next morning, June 19, 2008, the DEA, assisted by officers from the

Janesville Police Department (JPD) and a JPD tactical team, entered 253 High Street to execute

the warrant. Agent Jarosz was not present on the scene and no one had advised the entry team

or the police officers that the warrant was limited to Apartment A. As a result, the entry team not

only entered Apartment A on the first floor, but ascended the staircase and entered Apartment B

through the open hallway door. The entry team saw no indications that the upstairs unit was a

separate apartment. While performing their preliminary sweep, the entry team found three men

sleeping: Gerardo Pineda Soria, Hoguer Pineda and Adrian Lazcano. All three men were taken

downstairs into the living room of Apartment A, in which approximately ten residents also were

found. Pineda Soria was arrested on the federal warrant.

       DEA agents and JPD officers had begun searching both upstairs and downstairs at 253

High Street, using a drug-sniffing dog.    Within minutes, and before anyone had discovered



                                                2
       Case: 3:08-cr-00105-bbc Document #: 170 Filed: 02/11/09 Page 3 of 15




anything of evidentiary value, DEA Special Agent Craig Grywalski learned from one of the

downstairs residents that the building was subdivided into several apartments. As a result of this,

JPD Sergeant Steve DeWitt ordered the searching officers to withdraw while the lead agents

determined what to do. The search team waited on the lawn for further instructions from those

in charge.

       DEA Special Agent Jerome Becka and JPD Officer Denise Stutika were about to take

Pineda to the police station to attempt an interview; Agent Becka advised Agent Grywalski that

they would ask Pineda Soria for consent to search. Agent Grywalski also called the AUSA who was

overseeing this case to explore the possibility of obtaining another search warrant for the upstairs

apartment.

       Shortly after Pineda Soria was removed, Sergeant DeWitt directed Spanish-speaking

Officer Shawn Welte to seek consent to search from Hoguer Pineda, age 19, and Adrian Lazcano,

age 26, the two other residents of Apartment B who still were on the scene, sitting with the

residents of Apartment A. Neither man was handcuffed, and both had been allowed to dress. At

about 6:45 a.m. Officer Welte asked each man separately, in Spanish, if he would consent to a

search of his apartment, advising each of them that he didn’t have to do so. Each man orally

consented to the search. Sergeant DeWitt wanted to back this up with written consent, so at the

7:00 a.m. shift change he called the station and directed Spanish-speaking Officer Chad Sullivan

to bring a written consent form with him to translate into Spanish for Hoguer Pineda and Lazcano.

       By then, Agent Becka and Officer Stutika had transported Pineda Soria to the station,

advised him of his rights, and sought his cooperation. Officer Stutika translated; DEA agent

Sergio Ceren joined part of the conversation via speaker phone to assist Officer Stutika and to



                                                 3
       Case: 3:08-cr-00105-bbc Document #: 170 Filed: 02/11/09 Page 4 of 15




ensure that Pineda Soria knew what he was doing. Pineda Soria waived his Miranda rights and

signed the waiver form. Pineda Soria then consented to a search of Apartment B and signed the

consent form. It was 7:08 a.m. The agents had not shown Pineda Soria any photographs from

their investigation and they had not told him that his brother already had consented (because he

hadn’t, at least not yet).2    Agent Becka immediately communicated Pineda Soria’s consent to

Agent Grywalski. At this time, no one had yet found any contraband at the residence, nor had

anyone told Pineda Soria that they had found contraband.

        It is not clear whether officers recommenced their search immediately after obtaining oral

consent from Hoguer Pineda and Lazcano, or whether they learned before starting that Pineda

Soria also had consented, but they did start before his two co-tenants had signed the written

consent form. Apparently while the search was occurring, Officer Sullivan handwrote a Spanish

translation of the English language consent to search form, presented it to Pineda and Lazcano and

confirmed with them that they voluntarily had consented to the search. At 7:40 a.m., both men

signed the form, commemorating in writing their earlier oral consent to the search of Apartment

B.

        During the second search, officers found evidence of drug trafficking, including about a

kilogram of powder cocaine under Pineda Soria’s bed in Apartment B.

        Apparently, no one passed this news along to Agent Becka and Officer Stutika, whose

interview with Pineda Soria was going nowhere as he continued to deny involvement in cocaine

trafficking. The agents decided to call it a day and to transport Pineda Soria up to federal court



        2
          Pineda Soria contends otherwise in his affidavit supporting his motion to suppress. Pineda Soria
is incorrect. Because Pineda Soria did not testify at the hearing, I do not have enough information to
determine whether his misstatement of material facts is willful.

                                                    4
      Case: 3:08-cr-00105-bbc Document #: 170 Filed: 02/11/09 Page 5 of 15




in Madison. On the way, they stopped at 253 High Street to check the progress of the search.

When they got there, Agent Grywalski reported recovery of the cocaine from beneath Pineda

Soria’s bed. Using Officer Stutika as his interpreter, Agent Becka shared this information with

Pineda Soria, reminded him that he still was protected by his Miranda rights, then asked him if

he was willing to take another stab at cooperating. Pineda Soria agreed, and provided self-

incriminating statements.     The trio returned to the police department to continue the

interrogation. When Soria equivocated about his role in events known to the agents, they showed

him surveillance photographs that undermined his denials.



                                           ANALYSIS

       Pointing to the illegal initial entry into Apartment B, Pineda Soria seeks to suppress all of

his subsequent statements to the agents and all physical evidence seized from the apartment. As

part of this, Soria argues that his subsequent consent to search was not voluntary. His only

response to the third-party consent provided by Hoguer Pineda and Lazcano is that the officers’

testimony on this issue was incorrect.

       As a starting point, let’s apply the Supreme Court’s recent decision in Herring v. United

States (Jan. 14, 2009). Here’s the new rule on suppression:

              To trigger the exclusionary rule, police conduct must be sufficiently
              deliberate that exclusion can meaningfully deter it, and sufficiently
              culpable that such deterrence is worth the price paid by the judicial
              system. As laid out in our cases, the exclusionary rule serves to
              deter deliberate, reckless, or grossly negligent conduct, or in some
              circumstances recurring or systemic negligence.

       Herring, 2009 WL 77886 at *7.




                                                5
       Case: 3:08-cr-00105-bbc Document #: 170 Filed: 02/11/09 Page 6 of 15




       Duly noted. The court cannot fault the JPD entry team or JPD searchers for mistakenly

entering Apartment B because nobody told them that the warrant was limited to Apartment A on

the first floor; further, there was no indication that morning that the upstairs actually was a

separate residence.

       But the court can fault the DEA, because at least some of its agents–but not those actually

present on the scene–knew that there were two apartments at 253 High Street and that the search

warrant was limited to the first floor apartment. Under the collective knowledge doctrine, the

limits of a warrant must be imputed to those who searched in reliance on it. See United States v.

Whitaker, 546 F.3d 902, 905 (7 th Cir. 2008). The DEA’s failure properly to educate and supervise

its search team to prevent unwarranted entry into a separate residence constitutes gross negligence,

if not recklessness. Accordingly, Herring’s narrowing of the exclusionary rule cannot help the

government in this case.

       Even so, Pineda Soria cannot obtain suppression of the physical evidence seized from

Apartment B. The initial illegal entry did not lead to the discovery or seizure of any physical

evidence. Application of the exclusionary rule must bear some relation to the purposes that the

rule is to serve. United States v. Villegas, 495 F.3d 761, 769 (7 th Cir. 2007). Therefore, exclusion

is unjustified when the alleged error is not in the causal chain leading to the challenged evidence.

United States v. Mikos, 539 F.3d 706, 710 (7th Cir. 2008) (citing Hudson v. Michigan, 547 U.S. 586

(2006). Here, the police withdrew from Apartment B upon learning that the warrant did not

include it. They did not recommence their search until they had consent from the apartment

occupants to do so, and that’s when they discovered the kilo of cocaine and other evidence.




                                                 6
       Case: 3:08-cr-00105-bbc Document #: 170 Filed: 02/11/09 Page 7 of 15




       The question becomes whether the re-entry was reasonable. It was: Pineda Soria’s two

flatmates both consented to the search. Not so fast, argues Pineda Soria: but for the first, illegal

entry, the police never would have encountered his flatmates to obtain their permission to re-enter.

This claim has traction for Pineda Soria personally, as discussed below, but Pineda Soria cannot

complain about any violation of his co-tenants’ Fourth Amendment rights because these are

personal rights that may not be asserted vicariously. United States v. Figueroa-Espana, 511 F.3d

696, 703 (7 th Cir. 2007).3

       So, the court may consider whether the flatmates’ consent to search Apartment B sufficed

to authorize the warrantless search. The government must prove by a preponderance of the

evidence that this consent was freely and voluntarily given. Whether consent is voluntary is a

question of fact, dependent upon the totality of the circumstances. Relevant factors include the

consentors’ ages, intelligence and education; whether they were advised of their right to refuse;

whether they had been detained before giving consent; whether consent was immediate or was

prompted by repeated requests by the authorities; and whether any physical coercion was used.

See, e.g., United States v. Figueroa-Espana, 511 F.3d 696, 705 (7 th Cir. 2007); United States v.

Sandoval-Vasquez, 435 F.3d 739, 744 (7 th Cir. 2006).

       We do not know much about Hoguer Pineda or Lazcano. They were both relatively young

men. Their interaction with Officer Sullivan established that they could read and understand




       3
          The government also argues that the entry team would have been authorized to enter Apartment
B to perform a protective sweep pursuant to M aryland v. Buie, 494 U.S. 325 (1990), but Buie limits the
protective sweep to the residence for which the warrant was issued, id. at 332-33. Police cannot sweep
every apartment in a m ulti-unit building just because there is a common foyer and the doors happen to
be open.

                                                  7
       Case: 3:08-cr-00105-bbc Document #: 170 Filed: 02/11/09 Page 8 of 15




written Spanish. They were rousted from their sleep by armed officers, removed from their

apartment and herded into the living room of Apartment A, acts not conducive to voluntariness.

But they were allowed to dress, they were in the company of other people they knew, and no one

approached them to ask for consent until about 40 minutes after they first were confronted.

Officer Welte, alone, asked each man for consent and explained the right to refuse. Both men

consented. About half an hour later, Officer Sullivan corroborated this with a written consent

form. By signing the form, each man verified that he knew he could refuse consent to search, but

voluntarily was consenting without any threats or promises. Absent any contrary evidence, this

is sufficient to prove that the officers obtained voluntary consent to search Apartment B before

they re-entered and discovered contraband.

       As a result, it is irrelevant whether Pineda Soria voluntarily consented to the search, but

for completeness’s sake, I find that he did, as evidenced by his signed consent form and Agent

Becka’s testimony as to how consent was obtained. Pineda Soria’s affidavit claiming otherwise

is not believable because in it Pineda Soria has re-sequenced events in order to optimize the

support for his claim of involuntariness. As noted above, I cannot say whether Pineda Soria

intentionally presented an incorrect version of events or if he now actually recalls things happening

as he states, but in any event, he got it wrong. His consent to search was voluntary.

       But Pineda Soria still has a valid point about his presence at the police station:

               A confession obtained through custodial interrogation after an illegal
               arrest must be excluded from evidence unless the confession is
               attenuated enough from the illegal arrest that the confession is
               sufficiently an act of free will to purge the primary taint.




                                                 8
       Case: 3:08-cr-00105-bbc Document #: 170 Filed: 02/11/09 Page 9 of 15




        United States v. Reed, 349 F.3d 457, 463 (7 th Cir. 2003).4

There is no conceptual reason to distinguish confessions from consents to search, and I will

address this issue below when analyzing whether to suppress some or all of Pineda Soria’s post

arrest statements. At least with regard to Pineda Soria’s consent to search, the answer doesn’t

matter because the consent provided by Pineda Soria’s flatmates sufficed to authorize the search.

        Finally, the government argues the inevitable discovery doctrine salvages this search

because agents could have and would have obtained a search warrant for Apartment B. See United

States v. Tejada, 524 F.3d 809, 812-13 (7 th Cir. 2008). Indeed, Agent Grywalski was on the phone

with the Assistant U.S. Attorney discussing this possibility while others were seeking consent to

search. Pineda dismisses this argument as bootstrapping: any new warrant for Apartment B would

have to have been based on evidence discovered during the illegal first entry.

        That’s one possibility, but there are others. After excluding any evidence actually obtained

from Apartment B during first entry (namely, Pineda Soria’s presence), what remains is the

evidence that Pineda Soria did not live in Apartment A as the agents had assumed when they

requested their search warrant. The only reason the agents specified Apartment A in their warrant

application was because they thought that this was the unit in this building in which Pineda Soria

lived. Upon deducing through the process of elimination that he actually lived in Apartment B,

the agents could have resubmitted the same affidavit with supplemental information explaining

why they now surmised that Pineda Soria lived in Apartment B. This would have been sufficient

for this court to issue the new warrant. Pursuant to Segura v. United States, 468 U.S. 796 (1984),


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           That said, Pineda Soria cannot challenge–and is not challenging–his actual presence before this
court. See United States v. Crews, 445 U.S. 463, 474 (1980).

                                                    9
      Case: 3:08-cr-00105-bbc Document #: 170 Filed: 02/11/09 Page 10 of 15




the agents could have entered Apartment B and secured it to prevent the destruction of evidence

while they obtained the new search warrant.

       The bottom line is that Pineda Soria is not entitled to suppression of any of the physical

evidence seized from Apartment B.

       Circling back to Reed’s holding regarding confessions following illegal arrests, I conclude

that this court should not suppress any of Pineda Soria’s statements to agents made during his first

interview or his second interview. In determining admissibility of either statement, the threshold

requirement is that the confession be voluntary under the Fifth Amendment; if so, then the court

must consider the temporal proximity of the illegal conduct to the statements, the presence of any

intervening circumstances, and most importantly, the purpose and the flagrancy of the police

misconduct. Reed, 349 F.3d at 463.

       There is no doubt that Pineda Soria answered questions voluntarily. He received a full

Miranda advisal and waived his rights. The agents made no threats or false promises to induce him

to talk. The circumstances of his arrest were problematic, but without diminishing the importance

of Pineda Soria’s Fourth Amendment rights, from a Fifth Amendment perspective, he was in no

worse a predicament than if the agents had specified the correct apartment in the search warrant.

Most importantly, Pineda Soria clearly demonstrated his ability to exercise his free will by lying

to the agents during both interviews. He repeatedly made provably false denials to the agents,

apparently hoping to bluff his way through the interrogations.

       Jumping to the last, most important factor in the Reed analysis, the Fourth Amendment

violation here was neither purposeful nor flagrant. The DEA had obtained the search warrant for




                                                10
      Case: 3:08-cr-00105-bbc Document #: 170 Filed: 02/11/09 Page 11 of 15




the purpose of arresting Pineda Soria in his home and then searching it. Their evidence led them

to pick the wrong apartment of two, but this was palpably unintentional, and as noted above,

quickly remediable. Part of the remedy, under Segura, would have been to secure and hold

Apartment B until a new warrant could be obtained. So, although the search could not commence

until a new warrant (or valid consent) was obtained, entry into Apartment B was constitutionally

reasonable even in the absence of a warrant. Once inside, the police did have the right to ensure

their own safety by conducting a protective sweep. They had a valid arrest warrant for Pineda

Soria; upon discovering him in Apartment B, they were not obliged to set him free as penance for

having erred and strayed in their warrant application. So, from Pineda Soria’s perspective, he was

no worse off than if the warrant had been for Apartment B than Apartment A.

        Then the agents drove Pineda Soria to a new location and provided him with Miranda

warnings and started interviewing him within about an hour after first encountering him in his

apartment. This is not significant attenuation, but if we temper Reed with Herring’s admonition

that the criminal should not profit unduly from the constable’s blunder, it is a fairly safe bet to

conclude that Pineda Soria’s first statement was sufficiently attenuated from the illegal entry into

his apartment so as to avoid exclusion.5

        If this seems too close for comfort, then the court could suppress Pineda Soria’s first

interview on the ground that it was not sufficiently attenuated from the entry into Apartment B.

But there were significant intervening factors before the second interview that clearly establish


        5
          Note that the blunder here was picking the wrong apartment for the warrant, not the entry into
Apartment B in mistaken reliance on the warrant. As just discussed, there were constitutionally reasonable
ways for the agents to have made contact with Pineda Soria that morning without relying on the improper
entry into Apartment B.

                                                   11
      Case: 3:08-cr-00105-bbc Document #: 170 Filed: 02/11/09 Page 12 of 15




attenuation: the agents ended the first interview and drove Pineda Soria back to 253 High Street,

having no intention at that time to interview him again. At the search scene, the agents, and

Pineda Soria, learned that searchers had recovered a kilo of cocaine from under Pineda Soria’s bed,

decisively and objectively undermining his previous denials to the agents. The agents reminded

him that he retained his Miranda rights and asked him if he wished to speak further.           He

responded that he did. These changes in time, location and material circumstance were sufficient

to ameliorate the concerns raised in Reed. This court should not suppress Pineda Soria’s second

set of statements to the agents.




                                     RECOMMENDATION

       Pursuant to 28 U.S.C. § 636(b)(1)(B) and for the reasons stated above, I recommend that

this court completely deny defendant Gerardo Pineda-Soria’s motion to suppress physical evidence

and his post-arrest statements.



       Entered this 11 th day of February, 2009.

                                             BY THE COURT:

                                             /s/

                                             STEPHEN L. CROCKER
                                             Magistrate Judge




                                                   12
      Case: 3:08-cr-00105-bbc Document #: 170 Filed: 02/11/09 Page 13 of 15




                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WISCONSIN
                                      120 N. Henry Street, Rm. 540
                                          Post Office Box 591
                                       Madison, Wisconsin 53701

       Chambers of                                                               Telephone
  STEPHEN L. CROCKER                                                           (608) 264-5153
   U.S. Magistrate Judge

                                       February 11, 2009

Paul Connell
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P.O. Box 44188
Madison, WI 53744

        Re:      United States v. Gerardo Pineda Soria
                 Case No. 08-CR-105-bbc-02

Dear Counsel:

       The attached Report and Recommendation has been filed with the court by the United
States Magistrate Judge.

      The court will delay consideration of the Report in order to give the parties an
opportunity to comment on the magistrate judge's recommendations.

       In accordance with the provisions set forth in the newly-updated memorandum of the
Clerk of Court for this district which is also enclosed, objections to any portion of the report
may be raised by either party on or before February 23, 2009, by filing a memorandum with the
court with a copy to opposing counsel.

      If no memorandum is received by February 23, 2009, the court will proceed to consider
the magistrate judge's Report and Recommendation.

                                              Sincerely,
                                              /s/
                                              Connie A. Korth
                                              Secretary to Magistrate Judge Crocker
Enclosures
cc:    Honorable Barbara B. Crabb, District Judge



                                                  13
        Case: 3:08-cr-00105-bbc Document #: 170 Filed: 02/11/09 Page 14 of 15




         MEMORANDUM REGARDING REPORTS AND RECOMMENDATIONS


       Pursuant to 28 U.S.C. § 636(b), the district judges of this court have designated the full-

time magistrate judge to submit to them proposed findings of fact and recommendations for

disposition by the district judges of motions seeking:

              (1) injunctive relief;

              (2) judgment on the pleadings;

              (3) summary judgment;

              (4) to dismiss or quash an indictment or information;

              (5) to suppress evidence in a criminal case;

              (6) to dismiss or to permit maintenance of a class action;

              (7) to dismiss for failure to state a claim upon which relief can be granted;

              (8) to dismiss actions involuntarily; and

              (9) applications for post-trial relief made by individuals convicted of
                  criminal offenses.

       Pursuant to § 636(b)(1)(B) and (C), the magistrate judge will conduct any necessary

hearings and will file and serve a report and recommendation setting forth his proposed findings

of fact and recommended disposition of each motion.

       Any party may object to the magistrate judge’s findings of fact and recommended

disposition by filing and serving written objections not later than the date specified by the court

in the report and recommendation. Any written objection must identify specifically all proposed

findings of fact and all proposed conclusions of law to which the party objects and must set forth

with particularity the bases for these objections. An objecting party shall serve and file a copy


                                                14
        Case: 3:08-cr-00105-bbc Document #: 170 Filed: 02/11/09 Page 15 of 15




of the transcript of those portions of any evidentiary hearing relevant to the proposed findings

or conclusions to which that party is objection. Upon a party’s showing of good cause, the

district judge or magistrate judge may extend the deadline for filing and serving objections.

       After the time to object has passed, the clerk of court shall transmit to the district judge

the magistrate judge’s report and recommendation along with any objections to it.

       The district judge shall review de novo those portions of the report and recommendation

to which a party objects. The district judge, in his or her discretion, may review portions of the

report and recommendation to which there is no objection. The district judge may accept, reject

or modify, in whole or in part, the magistrate judge’s proposed findings and conclusions. The

district judge, in his or her discretion, may conduct a hearing, receive additional evidence, recall

witnesses, recommit the matter to the magistrate judge, or make a determination based on the

record developed before the magistrate judge.

       NOTE WELL: A party’s failure to file timely, specific objections to the magistrate’s

proposed findings of fact and conclusions of law constitutes waiver of that party’s right

to appeal to the United States Court of Appeals. See United States v. Hall, 462 F.3d 684,

688 (7 th Cir. 2006).




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